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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DONALD J. TRUMP, DONALD J. TRUMP
 JR., ERIC TRUMP, IVANKA TRUMP,

 and                                                    Docket No. 1:19-cv-03826
 THE DONALD J. TRUMP REVOCABLE
 TRUST, THE TRUMP ORGANIZATION,
 INC., TRUMP ORGANZATION LLC, DJT
 HOLDINGS LLC, DJT HOLDINGS                              STIPULATION OF DISMISSAL OF
 MANAGING MEMBER LLC, TRUMP                              DEFENDANT CAPITAL ONE
 ACQUISITION LLC, and TRUMP                              FINANCIAL CORP.
 ACQUISITION, CORP.,

                                 Plaintiffs,

                 - against -

 DEUTSCHE BANK AG and CAPITAL ONE
 FINANCIAL CORP.,

                                 Defendants,

 and

 COMMITTEE ON FINANCIAL SERVICES
 OF THE U.S. HOUSE OF
 REPRESENTATIVES and PERMANENT
 SELECT COMMITTEE ON
 INTELLIGENCE OF THE U.S. HOUSE OF
 REPRESENTATIVES,

                        Intervenor-Defendants.


        In filings with the U.S. Court of Appeals for the Second Circuit dated August 26, 2020, the

House Committee on Financial Services indicated that it has withdrawn its subpoena to Defendant

Capital One Financial Corp. (“Capital One”). See No. 19-1540, Doc. 272 at 2 (noting that “the

Financial Services Committee has withdrawn its subpoena to Capital One Financial Corporation

entirely”). As a result, the undersigned parties are in agreement that Capital One should be dismissed

from this action, pursuant to Fed. R. Civ. P. 21 and/or 41(a)(1)(A)(ii).

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Dated: October 9, 2020                            Respectfully submitted,

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                                                  and the Permanent Select Committee on Intelligence




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                                    CERTIFICATE OF SERVICE
        I certify that on October 13, 2020, I electronically filed this document with the Clerk of Court

for the U.S. District Court for the Southern District of New York using the CM/ECF system, which

will send notification of the filing to all counsel.

                                                                         s/Patrick Strawbridge
                                                                        Patrick Strawbridge




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